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Attomeys for Petitioner

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

CHRISTOF PFAFF, an individual,
Petitioner,

-against-

DEUTSCHE BANK AG, a German bank
and financial institution, DZ BANK AG
DEUTSCHE ZENTRAL-
GENOSSENSCHAFTSBANK, a German
bank and financial institution, and
COMMODITY EXCHANGE, INC (aka
“COMEX”), a New York not-for-profit
corporation,

Respondents.

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Docket No.

SUPPLEMENTAL PETITION FOR
DISCOVERY UNDER 28 U.S.C. §1782
(Application for an Order Permitting
Discovery for Use in a Foreign Legal
Proceeding)

Petitioner Christof Pfaff, by his attorneys, MUSKIN LAW OFFICES, makes the

following supplemental application as an interested person to conduct discovery, pursuant to the

Federal Rules of Civil Procedure, against the Respondents, pursuant to 28 U.S.C. § 1782, for use

in a foreign legal proceeding in Germany.

Jurisdiction

A. This Court has jurisdiction over this matter because it arises under the laws of the

United States, namely, 28 USC § 1782.
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Venue
as Venue is properly laid in this District pursuant to 28 USC Section 1391(b) because
the Respondents reside, do business and/or are found in this District.
3. Petitioner Pfaff is an “interested person” under 28 USC §1782 because he was
damaged by the illegal conspiracy of Respondents Deutsche Bank and DZ Bank, as described in
pending German legal proceedings, in which Petitioner is the Plaintiff and Respondent Deutsche

Bank is the Defendant. See, Kausch Declaration, {[f{ 2-4.

Background and Discovery Sought Hereby

4, The factual and other background of this matter is to be found in the Declarations
attached hereto and by this reference made an integral part hereof, namely, the Declaration of
Heiner Kausch, the Declaration of Martin Beier, the Declaration of Geoffrey V. Morson and the
Declaration of Victor P. Muskin.

5. There is a related proceeding in this Court, commenced in August 2018, in which
a prior order was granted on August 28, 2018 authorizing discovery and retaining jurisdiction,
inter alia, for the purpose of any supplemental request for discovery assistance that Petitioner may
require. The related proceeding granted relief against Respondents Deutsch Bank AG and DZ
Bank AG Deutsche Zentral-Genossenschaftsbank (hereinafter “DZ Bank”) and is described in the
accompanying Declaration of Victor P. Muskin. The only new party herein is Respondent
Commodity Exchange, Inc.

6. Briefly stated, this dispute arises from the following facts. On various dates in
2012 and 2013, Petitioner Pfaff invested €3,013,345 (approximately $3.4 million, currently) in
various silver certificate options derivative securities offered by Respondent DZ Bank AG in

collaboration with Respondent Deutsche Bank AG. Due to illegal price and market manipulations
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and fraudulent transactions by both said Respondents, in conspiracy with each other and with other
financial institutions, Petitioner’s entire investment was rendered worthless and a total loss. See,
Kausch Declaration, [3; Beier Declaration, 4913-16.

a On December 29, 2017, Petitioner Pfaff commenced civil court proceedings against
Respondent Deutsche Bank AG, in Saarbriicken, Germany, secking monetary damages and other
remedies. These proceedings are ongoing and a trial date which had been set for September 21,
2018 has been postponed, sine die, but may be reset for trial at any time. See, Kausch Declaration
*4 11 and 16.

8. On November 2, 2018, subsequent to this Court’s August 28, 2018 order granting
the original petition, and as set forth in the accompanying declaration of Petitioner’s German
counsel Heiner Kausch, Esq., the Saarbrucken Regional Court issued an order detailing the
evidence required to be submitted in the German legal proceedings. On November 2, 2018,
subsequent to this Court’s August 28, 2018 order granting the original petition, and as set forth in
the accompanying declaration of Petitioner's German counsel Heiner Kausch, Esq., the
Saarbrucken Regional Court issued an order detailing the evidence required to be submitted in the
German legal proceedings. The German court order requires the following evidence:

ja] Evidence is to be obtained and submitted relating to Petitioner Pfaff’s claim that
the respective knock-outs of his certificates on May 8, 2012, May 15, 2012, April 15, 2013
and April 16, 2013 were caused by manipulation of the silver prices by Respondent herein
Deutsche Bank;
(b] Evidence is to be obtained and submitted that, in an unmanipulated
environment, these knock-outs would not have occurred;
[c] Evidence is to be obtained and submitted by way of an expert opinion. The
expert shall in particular comment on the following questions:
[1] Are manipulations ascertainable on May 8, 2012, May 15, 2012, April 15,
2013 and April 16, 2013?

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[2] If question 1 is answered in the affirmative: Were the manipulations carried
out by Respondent Deutsche Bank?
[3] If question | is answered in the affirmative: Did the said manipulations
cause the respective knock-outs?
[4] If question 3 is answered in the affirmative:
{a] Would the knock-outs have been expected on the respective days even
without the manipulations?
[b] Would the knock-outs also have occurred after the days mentioned
above, namely, May 8, 2012, May 15, 2012, April 15, 2013 and April 16,
2013?
The expert’s opinion is to be based upon an investment period of between one and
two years beginning immediately upon the acquisition by Petitioner Pfaff of each
of the respective investments.

o. The evidence required by the German court was not encompassed in the original
Petition for discovery. The purpose of this supplemental request is therefore to enable Petitioner,
as the plaintiff in the German case, to comply with the November 2, 2018 German court order by
obtaining the evidence that the court requires.

10. The German court order requires the specified evidence to be submitted by way of
expert opinion. The accompanying Declaration of Petitioner's German expert, Martin Beier,
describes the analytic process and reasons for the instant evidentiary request.

11. The documentary discovery sought from the three respondents pursuant hereto is
specified in Exhibit “A” hereto and in the list of Interrogatories and Requests for Admission
(Exhibits “B” and “C” hereto, respectively) addressed by Petitioner to specific Respondents. The
documents and witnesses whose testimony is required are located in the City of New York (or,
alternatively, the documents are in the possession, custody or control of Respondents, in the City

of New York).
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12. ‘It is accordingly requested that Petitioner be permitted, pursuant to 28 USC §1782
and the Federal Rules of Civil Procedure, to (a) serve subpoenas on the Respondents for the
documents listed in Exhibit A, and (b) serve interrogatories and requests for admission as listed in
Exhibits B and C.

WHEREFORE, for all the reasons set forth above and in the accompanying memorandum
of law, Petitioner respectfully requests that an Order be entered granting the instant supplemental
petition for discovery under 28 USC §1782 in all respects, authorizing the issuance of appropriate
subpoenas, interrogatories and requests for admission, and providing for such other relief as is
Just and proper, together with the costs of this application.

Dated: New York, New York

January 14, 2020
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